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                                           Grant J. Smith
                                                Attorney-at-Law


                                                                                                            Grant J. Smith, Esq.
                                                                                                   gsmith@strategysmith.com
                                                                                                    Direct Dial – 954.328.9064

February 21, 2022

VIA FAX DELIVERY (888.938.4715)
AT&T Global Demand Center
11760 US Highway 1
Suite 300
North Palm Beach, FL 33408

         Re: Request for Subpoena Extension - Acct# 839015639 - File#3323168.010


To Whom It May Concern:
         Please be advised I represent Drake Ventures, LLC., in the above referenced matter.
         The Congressional subpoena attached to your letter is dated February 1, 2022. The letter to
my client from AT&T is dated February 9, 2022. Because of travel schedules, my client only saw the
letter for the first time on February 20, 2022, and immediately sent it to me for review.
       Until my client has determined the proper course of action for them, Drake Ventures
does not authorize the transfer to the Select Committee of its ‘confidential phone records
information.’ 18 U.S.C. § 1039(b) (making it a crime to transfer ‘confidential phone records
information . . . without prior authorization from the customer to whom such confidential phone
records information relates’) and 47 U.S.C. § 222(c)(1) (similar prohibition).
        In order to facilitate a considerate review by my client, I hereby request an additional ten
(10) days to consider the proper course of action and asks that you take no action to send anything
to the Select Committee on February 23 d.
       I am sending this to you the only way you have provided which is by fax, but I have also taken
the opportunity to copy my client’s contacts at the Select Committee.
         Since the timeframes are so tight, the courtesy of an immediate response is requested.




Respectfully submitted,




Grant J. Smith, Esq.

cc: Select Committee



Grant J. Smith | Attorney-at-Law | 401 East Las Olas Blvd. | Suite 130-120 | Fort Lauderdale, Florida | 33301 | 954.328.9064
